Case 1:18-bk-10071        Doc 287    Filed 03/22/19 Entered 03/22/19 14:41:13            Desc Main
                                    Document      Page 1 of 2


                              UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF RHODE ISLAND


 IN RE: DAVID W. WAGNER                                             BK No. 18-10071

 ERIC HASSMAN

 VS.                                                                AP No. 18-01041

 DAVID W. WAGNER

                              MOTION TO WITHDRAW AS COUNSEL

        NOW COMES, Vincent A. Indeglia, Esq., (hereinafter “Counsel”), previously entered as

 counsel for David W. Wagner (hereinafter the “Wagner”), and hereby requests an Order from this

 Honorable Court granting Counsel’s leave to withdraw as Counsel for Wagner in the above-

 referenced matter. As grounds for this Motion, Counsel asserts that the client has failed to meet

 his financial obligations.

                                                     Defendant,
                                                     David W. Wagner
                                                     By His Attorney

                                                     /s/ Vincent A. Indeglia, Esq.
                                                     Vincent A. Indeglia, Esq. (#4140)
                                                     INDEGLIA & ASSOCIATES
                                                     Attorneys at Law
                                                     The Summit East
                                                     300 Centerville Road, Suite 320
                                                     Warwick, RI 02886
                                                     (401) 886-9240
                                                     Fax: (401) 886-9241
                                                     Email: vincent@indeglialaw.com
Case 1:18-bk-10071         Doc 287      Filed 03/22/19 Entered 03/22/19 14:41:13                  Desc Main
                                       Document      Page 2 of 2


                                      CERTIFICATE OF SERVICE



     I hereby certify that on March 22, 2019, I electronically filed the within Motion to Withdraw with the
 Clerk of the Bankruptcy Court for the District of Rhode Island using the CM/ECF System. The following
 participants have received notice electronically:

     •   Charles A. Pisaturo    Charlie@pisaturolaw.com, Jenn@pisaturolaw.necoxmail.com

 and I hereby certify that I have mailed by United States Postal Service, postage pre-paid, return receipt
 requested, the document electronically filed with the court to the following non CM/ECF participants:



 David W. Wagner
 55 Downing Street
 East Greenwich, RI 02818




 /s/ Jennifer Puchala
